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             EXHIBIT A
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                                                    [Corrected] Ex. A to Hemenway

                                             (Alphabetically by Last Name of 9/11 Decedent)


                   DECEDENT                                        PLAINTIFF
      DECEDENT                      DECEDENT Last    PLAINTIFF                   PLAINTIFF   PLAINITFF   Relationship to   SOLATIUM DAMAGES
                    Middle                                          Middle
      First Name                        Name         First Name                  Last Name     Suffix    9/11 Decedent          AMOUNT
                     Name                                            Name

1.   Nancy                    Liz                   Jose                       Liz                           Sibling               $4,250,000

                                                                                                             Parent
2.   Nancy                    Liz                   Jose                       Liz           Sr.                                   $8,500,000
                                                                                                           (Deceased)
                                                                                                             Parent
3.   Nancy                    Liz                   Elena                      Liz                                                 $8,500,000
                                                                                                           (deceased)

4.   Nancy                    Liz                   Maria                      Liz                           Sibling               $4,250,000

5.   Joseph        J.         Ogren                 Eric          James        Ogren                         Sibling               $4,250,000

6.   Joseph        J.         Ogren                 Patricia      Ann          Golden                        Sibling               $4,250,000

7.   James         Matthew    Patrick               Shawn         Joseph       Patrick                       Sibling               $4,250,000

8.   Carol                    Rabalais              Mary          Agatha       South                         Parent                $8,500,000



     TOTAL                                                                                                                        $46,750,000
